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                                   EXHIBIT 1
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Guest Post: TikTok, IEEPA, and CFIUS
This is a guest from Wentong Zheng, a law professor at the University of Florida

On August 6, 2020, President Trump issued an executive order entitled Addressing the Threat Posed by TikTok, and Taking
Additional Steps to Address the National Emergency With Respect to the Information and Communications Technology and
Services Supply Chain (“Aug. 6 EO”). Citing statutory authority under the International Emergency Economic Powers Act
(“IEEPA”), the Aug. 6 EO prohibits any transactions by persons subject to U.S. jurisdiction with ByteDance Ltd., the parent
company of the popular video-sharing mobile application TikTok, beginning 45 days after the date of the order, and
authorizes the Secretary of Commerce to identify the transactions subject to the prohibition 45 days after the date of the
order. The Aug. 6 EO justifies its action by referencing TikTok’s alleged threats to U.S. national security through data
collection, content censorship, and misinformation campaigns.
About a week later, on August 14, 2020, President Trump issued another executive order entitled Order Regarding the
Acquisition of Musical.ly by ByteDance Ltd. (“Aug. 14 EO”). Pursuant to the power granted to the President and the
Committee on Foreign Investment in the United States (“CFIUS”) under the Exon-Florio Amendment, the Aug. 14 EO orders
ByteDance to divest, within 90 days, from the assets and data that TikTok has gathered in the United States. ByteDance falls
within the purview of CFIUS because of its 2017 acquisition of lip-sync app Musical.ly, which ByteDance later merged into
TikTok to create a single integrated social media application. ByteDance did not submit an application for CIFUS review at
the time of the acquisition, but CFIUS retroactively reviewed the acquisition and unanimously recommended divestiture to
the President.

Amid reports of negotiations for a potential sale of TikTok, TikTok and ByteDance filed a lawsuit on August 24 before the U.S.
District Court for the Central District of California. The lawsuit challenges the Aug. 6 EO as unconstitutional and ultra vires,
and seeks a court injunction against the order. Among other claims, the plaintiffs contend that the Aug. 6 EO violates
TikTok’s right to due process under the Fifth Amendment of the U.S. Constitution as well as TikTok’s First Amendment rights
in its code. The plaintiffs also argue that the Aug. 6 EO is ultra vires because it does not meet several statutory standards set
forth in the IEEPA.
Leaving aside the merits of the plaintiffs’ claims, it appears that the Aug. 24 lawsuit does not address the real threat to
ByteDance’s continued ownership and operation of TikTok. The Aug. 24 lawsuit challenges the Aug. 6 EO, not the Aug. 14
EO. There have been some confusions on the part of media about the relationship between the two EOs. Some news outlets
reported that the later EO “extended” the deadline set in the earlier one. Indeed, these two EOs are separate executive actions
that stand on independent legal grounds. The Aug. 6 EO is pursuant to the President’s emergency power under the IEEPA,
whereas the Aug. 14 EO stems from the President’s power to prohibit or restrict foreign investment under the Exon-Florio
Amendment. It is the Aug. 14 EO that issues a binding order with a deadline. The Aug. 6 EO, as the plaintiffs themselves
acknowledge in their Aug. 24 lawsuit, is not clear as to its exact breadth until the Secretary of Commerce defines the covered
transactions after September 20 (pages 26-27 of the complaint). In the event that the Secretary of Commerce chooses to
subject no transactions or a very narrow set of transactions to the prohibition, much of the plaintiffs’ case will be rendered
moot.

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That said, from the plaintiffs’ point of view, the Aug. 24 lawsuit certainly serves the important goal of eliminating the risk of a
ban under the Aug. 6 EO. But even if the Aug. 24 lawsuit succeeds on that front, it cannot prevent the divestiture ordered by
the Aug. 14 EO. Assuming that the plaintiffs could obtain a preliminary injunction in time to prevent the Aug. 6 EO from
going into effect, they are still staring at a 90-day deadline for divestiture, unless they could also successfully challenge the
Aug. 14 EO in court.
However, a court action challenging the Aug. 14 EO is much more difficult to win. The Exon-Florio Amendment, the law on
which the Aug. 14 EO is based, states that the President’s actions and findings in prohibiting foreign investment that
threatens to impair national security of the United States are not subject to judicial review. In a 2014 case, Ralls v. CFIUS, the
U.S. Court of Appeals for the D.C. Circuit upheld the President’s authority to take non-reviewable actions to suspend or
prohibit foreign investment. The D.C. Circuit, however, also held that plaintiffs were allowed to assert procedural due process
claims against CFIUS. In Ralls, the D.C. Circuit found in favor of the Chinese-owned plaintiff because CFIUS failed to provide
the plaintiff an opportunity to rebut even unclassified, non-privileged information. But here, TikTok and ByteDance appear to
have undermined their potential procedural due process claims in a future court action challenging the Aug. 14 EO. In their
Aug. 24 lawsuit, TikTok and ByteDance state that “through the course of the CFIUS review, ByteDance provided voluminous
documentation and information in response to CFIUS’s questions,” (p. 14 of the complaint). This admission potentially
undercuts any arguments that TikTok and ByteDance were not afforded an opportunity to be heard during the CFIUS
process.
It will be very interesting to see how this legal drama will unfold. I will provide more updates when we have them.
Posted by Simon Lester on August 27, 2020 at 06:53 AM | Permalink
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Comments

El roam said...
Important issue indeed. Just worth to note, another constitutional right that has or shall be violated mentioned in the
complaint, and it is the "Taking clause". I quote:
" The president has repeatedly made demands for a"very substantial" payment to the US Treasury Department as a condition
of approving a divestiture of TikTok Inc.'s U.S assets and had made clear that, in the absence of such a divestiture and
payment, he would ban TikTok."

Also worth to note, the violation of the non delegation principle. I quote:

"The ambiguity and breath of President Trump's executive order highlights that the President's ability to invoke a national
emergency under IEEPA is so open-ended that Congress has not supplied an "intelligible principle" to guide Executive
Branch decision - making authority."
End of quotation:
In sum, it looks that the federal government, shall supply the court, with many evidences for potential threats. Yet, not really
concretely concerning TikTok it seems. We shall wait and see, how deep is the sea indeed.

Thanks


Reply August 27, 2020 at 09:03 AM
Steve Charnovitz said...
Thanks for the informative post. I agree with El roam's additions. CFIUS is the most notorious of the US programs that defy


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